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     CORPORATION
15
16                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
17
18   PERSIAN GULF INC.,                 Case No. 3:15-cv-01749-TWR-AGS

19             Plaintiff,               Lead Case No. 3:18-cv-01374-TWR-
                                        AGS (consolidated with case no.
20             v.                       3:18-cv-01377-TWR-AGS)

21   BP WEST COAST PRODUCTS LLC, et      CLASS ACTION
     al.,
22                                      JOINT MOTION TO FILE
              Defendants.               DOCUMENTS UNDER SEAL
23   RICHARD BARTLETT, et al.,
                                        Judge: Hon. Todd W. Robinson
24             Plaintiffs,              Courtroom: 3A
25             v.
26   BP WEST COAST PRODUCTS LLC, et
     al.,
27
               Defendants.
28
                                       -1-
                                                    JOINT MOT. TO FILE UNDER SEAL
                                                   Case Nos. 3:15-cv-01749; 3:18-cv-01374
1    I.       INTRODUCTION
2             Pursuant to the Court’s April 2, 2021 Order Granting Joint Motion and
3    Stipulation to Amend Sealing Procedures (“Amended Sealing Order,” Dkt. No. 637 in
4    Case No. 15-cv-01749 and Dkt. No. 479 in Case No. 18-cv-01374 1), all briefs and
5    evidence filed pursuant to the March 16, 2021 Order Granting Joint Motion and
6    Stipulation Re Protocols for Motions for Summary Judgment and Daubert Motions
7    (“Briefing Order,” Dkt. No. 589) were filed under seal on the CM/ECF docket. 2
8    Counsel for Plaintiffs 3 and Defendants 4 met and conferred in good faith on multiple
9    occasions since July 2, 2021, to discuss the sealing of briefs and evidence filed pursuant
10   to the Briefing Order. 5 Now, pursuant to Local Rule 79.2, Rule III.C.4 of the Standing
11   Order for Civil Cases, and the Protective Order entered on February 4, 2019, the Parties
12   hereby jointly request permission to permanently seal certain documents or portions of
13   documents that were previously filed pursuant to the Briefing Order.
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         Unless otherwise stated, all docket citations are to filings in Case No. 15-cv-1749.
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     2
      The Parties originally filed their opening briefs and evidence on April 2, 2021, and, in
     conjunction with that filing, filed separate motions to seal. See Dkt. Nos. 612 and 620
18   (Defendants’ sealing motions); Dkt. Nos. 623 and 627 (Plaintiffs’ sealing motions). On
19   April 20, 2021, the Court denied those April 2 motions to seal as moot, as per the
     Parties’ request. Dkt. No. 661.
20   3
         Persian Gulf, Inc., David Rinaldi, Joshua Ebright, and Paul Lee.
21   4
      BP West Coast Products LLC, Chevron U.S.A. Inc., Tesoro Refining & Marketing
22   Company LLC, Equilon Enterprises LLC (d/b/a Shell Oil Products US), Exxon Mobil
     Corporation and ExxonMobil Refining & Supply Co., Valero Marketing and Supply
23
     Company, Phillips 66, and Alon USA Energy, Inc.
24   5
       The good-faith meet and confer efforts resulted in the Parties reaching an agreement
25   as to the proper redactions for the hundreds of pages of briefs and evidence filed
     pursuant to the Briefing Order. The Parties further agreed that certain redactions to
26   the briefs and evidence publicly filed on April 2, 2020 (which pre-dated the Amended
27   Sealing Order), are no longer necessary and, therefore, less-redacted versions of at
     least some of those documents should now be filed. The Parties will file new public
28   versions of those documents by July 27, 2021.
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                                                                  JOINT MOT. TO FILE UNDER SEAL
                                                                 Case Nos. 3:15-cv-01749; 3:18-cv-01374
1          In support of this Motion, Defendants submit the Declaration of Dawn Sestito
2    (“Sestito Declaration”), which identifies with particularity the sealable portions of any
3    filed materials that reflect Defendants’ confidential and proprietary information,
4    including but not limited to contractual terms, pricing information, business records,
5    and financial information. 6 Plaintiffs take no position as to the information that
6    Defendants seek to seal.
7          Plaintiffs submit the Declaration of George C. Aguilar (“Aguilar Declaration”),
8    which identifies with particularity the sealable portions of any filed materials that reflect
9    confidential and proprietary contractual details, materials designated by third parties as
10   confidential and certain material in expert reports. Defendants take no position as to
11   the information that Plaintiffs seek to seal.
12         The Parties submit this Motion and accompanying declarations in good faith and
13   based on their respective understanding of the law and this Court’s rules. If the Court
14   has any questions or concerns, the Parties respectfully request an opportunity to cure
15   any deficiencies or address any feedback from the Court.
16   II.   LEGAL STANDARD
17         A party seeking to seal a judicial record bears the burden of overcoming the
18   strong presumption of access. Foltz v. State Farm Mut. Auto Ins. Co., 331 F.3d 1122,
19   1135 (9th Cir. 2003). The showing required to meet this burden depends upon whether
20   the documents to be sealed relate to a motion that is “more than tangentially related to
21   the merits of the case.” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1102
22   (9th Cir. 2016). When the underlying motion is more than tangentially related to the
23   merits, the “compelling reasons” standard applies. Id. at 1096–98.
24
25
26   6
       Certain Defendants have also redacted personally identifiable information (“PII”)
27   from certain exhibits that were filed pursuant to the Briefing Order. Those redactions
     are identified in the exhibits with white boxes marked “PII” and, therefore, are not listed
28   in the Sestito Declaration. Plaintiffs have no issue with these redactions.
                                                 -3-
                                                                   JOINT MOT. TO FILE UNDER SEAL
                                                                  Case Nos. 3:15-cv-01749; 3:18-cv-01374
1           A compelling reason exists when not sealing the material would result in the
2    release of trade secrets, Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179
3    (9th Cir. 2006), or of “business information that might harm a litigant’s competitive
4    standing,” Ctr. for Auto Safety, 809 F.3d at 1097 (quoting Nixon v. Warner Commc’ns
5    Inc., 435 U.S. 589, 599 (1978)).
6    III.   DISCUSSION
7           The limited sealing that Defendants seek is consistent with the nature of this
8    action: a multi-defendant antitrust lawsuit. Discovery in this matter required production
9    of all manner of confidential materials, including documents related to pricing decisions
10   and methodology, business decisions and strategies, customer and sales data, refinery
11   production decisions and import, export, and trading strategies.             To protect the
12   competitively sensitive information that was sought and produced during discovery, the
13   Court entered a comprehensive Protective Order with two tiers of confidentiality
14   designations, including a designation of “Confidential - For Counsel Only” for the most
15   competitively sensitive materials. See Dkt. No 184. Defendants collectively produced
16   over 3 million documents and terabytes of other data under the Protective Order. Dkt.
17   502-2 ¶ 4. 7 For purposes of this Motion, Defendants are not seeking to seal documents
18   or information on the sole basis that such information was produced as “Confidential”
19
20   7
       All citations to “J.A. __” refer to the Joint Appendix in Support of Joint Memorandum
21   of Defendants Chevron U.S.A. Inc., Phillips 66, Equilon Enterprises LLC (d/b/a Shell
     Oil Products US), and Valero Marketing and Supply Company in Support of Joint
22   Motion for Summary Judgment, which was filed under seal as Dkt. No. 629. Unless
23   stated otherwise, all citations to “Ex. __” refer to the exhibits cited in and attached to
     the Declaration of Samuel Liversidge in Support of the Joint Notice of Motion and
24   Motion for Summary Judgement of Defendants Chevron U.S.A. Inc., Phillips 66,
25   Equilon Enterprises LLC (d/b/a Shell Oil Products US), and Valero Marketing and
     Supply Company, which were filed under seal as Dkt. No. 629. Citations to “T.A. __”
26   refer to Tesoro Refining & Marketing Company LLC’s Appendix in Support of its
27   Motion for Summary Judgment and Defendants’ Joint Motion for Summary Judgment,
     which was filed under seal as Dkt. No. 621. All emphasis is added and internal citations
28   and quotations are omitted.
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                                                                 JOINT MOT. TO FILE UNDER SEAL
                                                                Case Nos. 3:15-cv-01749; 3:18-cv-01374
1    or “Confidential - For Counsel Only” under the Protective Order. Instead, Defendants
2    have carefully reviewed the materials filed pursuant to the Briefing Order and only seek
3    to seal the specific materials for which there is a compelling reason to keep from the
4    public record, all of which is specifically identified in the Sestito Declaration.
5          The limited sealing that Plaintiffs seek reflects three categories of information.
6    First, Plaintiffs seek to seal the contract between Plaintiff Persian Gulf and Phillips 66.
7    As described below, the financial details and other negotiated terms of contractual
8    agreements constitute paradigmatic trade secrets. See In re Elec. Arts, Inc., 298 F.
9    App’x 568, 569 (9th Cir. 2008). Second, Plaintiffs seek to seal a limited number of
10   documents that were produced by third parties in this action who have requested, under
11   the terms of the governing protective order, to have their materials marked confidential
12   or highly confidential. Finally, the Plaintiffs seek to seal certain material in expert
13   reports. These materials refer, rely and relate to material that has been designated as
14   confidential and/or highly confidential by Defendants and third parties. For purposes
15   of this Motion, likewise as with Defendants, Plaintiffs are not seeking to seal documents
16   or information on the sole basis that such information was produced as “Confidential”
17   or “Confidential - For Counsel Only” under the Protective Order. Instead, Plaintiffs
18   have carefully reviewed the materials filed pursuant to the Briefing Order and only seek
19   to seal the specific materials for which there is a compelling reason to keep from the
20   public record, all of which is specifically identified in the Aguilar Declaration.
21         The Ninth Circuit and several courts in this district have found that the type of
22   materials identified in the Sestito Declaration and Aguilar Declaration constitute
23   confidential information or other material properly sealable in the dispositive-motion
24   context:
25         Proprietary Contract Terms: The financial details and other negotiated terms
26   of contractual agreements constitute paradigmatic trade secrets. See In re Elec. Arts,
27   Inc., 298 F. App’x 568, 569 (9th Cir. 2008) (determining that “pricing terms, royalty
28   rates, and guaranteed minimum payment terms” are the “precise sort of information”
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                                                                  JOINT MOT. TO FILE UNDER SEAL
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1    that under the compelling reasons standard “plainly falls within the definition of ‘trade
2    secrets’” and therefore must be sealed.). The “public disclosure of [contract terms]
3    would impede [the party’s] ability to negotiate with business partners and to stay
4    competitive in the marketplace.” Rainbow Bus. Solutions v. Merch. Servs., 2013 WL
5    12308205, at *2 (N.D. Cal. May 10, 2013).
6          The documents or portions of documents filed pursuant to the Briefing Order
7    contain copies of and reference certain business contracts of Defendants with
8    commercially sensitive contractual language. This type of information is properly
9    sealable because disclosure would provide competitors with unfair bargaining leverage
10   in future negotiations.    The Sestito Declaration identifies with particularity the
11   contractual information filed pursuant to the Briefing Order that compelling reasons
12   support sealing. For example, ExxonMobil seeks to seal the description of a particular
13   pricing clause in a supply contract with a non-defendant third party. See ExxonMobil’s
14   Notice of Joinder and Supplemental Brief in Support of Defendants’ Joint Motion for
15   Summary Judgment, Dkt. No. 631 at 7 fn.6.           And portions of Patrick Brooks’
16   Declaration at paragraphs 10 and 11 describe confidential, competitively sensitive
17   contract provisions relating to some of Valero’s West Coast supply contracts with
18   customers for its branded and unbranded gasoline. See J.A. 731 ¶ 109.
19         Plaintiffs have sought to seal the contract between Phillips 66 and Plaintiff
20   Persian Gulf which is discussed in and attached as an exhibit to the Declaration of John
21   Hodgson for the same reasons as those described above.
22         Proprietary     Pricing   Information:     Internal     business      documents        and
23   communications reflecting strategic initiatives and pricing methodologies, bidding
24   tactics, and negotiating strategies also meet the compelling reasons standard. See, e.g.,
25   In re Elec. Art, 298 F. App’x at 569 (finding pricing, profit, and customer information
26   sealable under the compelling reasons standard); Rainbow Bus. Solutions, 2013 WL
27   12308205, at *2 (finding that the disclosure of “pricing arrangements, business model
28   and strategies” of the designating party “would allow its competitors to copy or adopt
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1    [those] practices . . . reducing or eliminating the competitive advantage that this
2    information provides”); Whitewater W. Indus., Ltd. v. Pac. Surf Designs, Inc., 2018 WL
3    3055938, at *2 (S.D. Cal. June 14, 2018) (explaining that “pricing information if
4    publicly disclosed could put the company at a competitive disadvantage”).
5          The documents or portions of documents filed pursuant to the Briefing Order
6    contain copies of and reference certain proprietary pricing information and
7    methodologies of Defendants. This type of information is properly sealable because
8    disclosure would be used by competitors to cause harm to competitive standings,
9    undercutting pricing and providing an unfair competitive advantage. The Sestito
10   Declaration identifies with particularity the proprietary pricing that compelling reasons
11   support sealing.    For example, ExxonMobil and other Defendants seek to seal
12   documents and portions of declarations that describe proprietary pricing decisions,
13   methodologies, and formulas. See J.A. 336–37 ¶¶ 74–76; T.A. 6–7 ¶¶ 19, 22. And
14   portions of Patrick Brooks’ Declaration at paragraphs 10 and 11 describe aspects of
15   Valero’s proprietary pricing formulas and pricing strategy regarding its West Coast rack
16   sales for branded and unbranded gasoline. See J.A. 731 ¶ 109.
17         Proprietary Business Records and Information: Internal records that reveal
18   “proprietary business strategies” or “internal business operations” also meet the
19   compelling reasons standard. See Aya Healthcare Servs., Inc. v. AMN Healthcare, Inc.,
20   2020 WL 1911502, at *5 (S.D. Cal. Apr. 20, 2020); Microsoft Corp. v. Hon Hai
21   Precision Indus. Co., 2020 WL 4901610, at *5 (N.D. Cal. Aug. 20, 2020). See also In
22   re Qualcomm Litig., 2019 WL 1557656, at *3 (S.D. Cal. Apr. 10, 2019) (granting
23   motions to seal “confidential business information of the parties, including trade secrets,
24   proprietary business records, discussions of internal strategy, company dealings, and
25   materials designated as ‘Highly Confidential’”); Stone v. Advance Am., Cash Advance
26   Ctrs., Inc., 2011 WL 662972, at *1 (S.D. Cal. Feb. 11, 2011) (granting motion to seal
27   “volume and market share”); Cont’l Auto. Sys., Inc. v. Avanci, LLC, 2019 WL 6612012,
28   at *4 (N.D. Cal. Dec. 5, 2019) (“courts in our circuit have found sales data and customer
                                                -7-
                                                                 JOINT MOT. TO FILE UNDER SEAL
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1    identities to be sealable, to the extent that information is kept confidential”); Krieger v.
2    Atheros Commc’ns, Inc., 2011 WL 2550831, at *1 (N.D. Cal. June 25, 2011) (sealing a
3    presentation that contained “discussions of business strategy and competitive
4    analyses”).
5          The documents or portions of documents filed pursuant to the Briefing Order
6    contain copies of and reference certain business records of Defendants with proprietary
7    business strategies and business information. This type of information is properly
8    sealable because disclosure would be used by competitors to cause harm to competitive
9    standings and provide an unfair competitive advantage.            The Sestito Declaration
10   identifies with particularity the proprietary business records that compelling reasons
11   support sealing. For example, ExxonMobil seeks to seal declaration paragraphs that
12   describe information related to ExxonMobil’s strategies and operations for refinery
13   operations, including certain planning strategies involving production and inventories.
14   See J.A. 336–37 at ¶¶ 74–76. And VMSC Exhibit 7 is an internal Valero memorandum
15   that reveals, among other things, its proprietary business strategies and internal business
16   operations relating to trade dealings and supply strategies across several channels of its
17   business. See J.A. 731 ¶ 109.
18         Proprietary Financial Information: Information related to a company’s profits,
19   losses, and margins also satisfy the compelling reasons standard. Whitewater, 2018 WL
20   3055938, at *2; Apple, Inc. v. Samsung Elec. Co., 727 F.3d 1214, 1225 (Fed. Cir. 2013)
21   (“[I]t seems clear that if Apple’s and Samsung’s suppliers have access to their profit,
22   cost, and margin data, it could give the suppliers an advantage in contract
23   negotiations.”). Damages calculations satisfy this standard when the calculations of
24   potential damages figures were based on confidential documents related to sales. See
25   Microsoft Corp. v. Hon Hai Precision Indus. Co., 2020 WL 4901610, at *3 (N.D. Cal.
26   Aug. 20, 2020) (sealing summary judgment “damages figures and numbers of units
27   sold”).
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                                                                  JOINT MOT. TO FILE UNDER SEAL
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1          The documents or portions of documents filed pursuant to the Briefing Order
2    contain copies of and reference certain proprietary financial information of Defendants.
3    This type of information is properly sealable because disclosure could be used by
4    competitors to cause harm to competitive standings and give suppliers an unfair
5    advantage in contract negotiations. The Sestito Declaration identifies with particularity
6    the proprietary financial information that compelling reasons support sealing. For
7    example, ExxonMobil seeks to seal certain non-public and proprietary internal financial
8    metrics and performance as it relates to refinery operations. See J.A. 336–37 ¶¶ 74–76.
9    And VMSC Exhibit 7 is an internal Valero memorandum that reveals, among other
10   things, detailed profit, loss and margin information relating to its trade dealings and
11   supply strategies across several channels of its business. See J.A. 731 ¶ 109.
12   IV.   CONCLUSION
13         For the reasons stated above, and those set forth in the concurrently filed Sestito
14   Declaration and Aguilar Declaration, the Parties respectfully request the Court enter the
15   Proposed Sealing Order, filed herewith.
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                                                                JOINT MOT. TO FILE UNDER SEAL
                                                               Case Nos. 3:15-cv-01749; 3:18-cv-01374
1                           Respectfully submitted,
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                                              JOINT MOT. TO FILE UNDER SEAL
                                             Case Nos. 3:15-cv-01749; 3:18-cv-01374
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23                          PRODUCTS LLC
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                                             JOINT MOT. TO FILE UNDER SEAL
                                            Case Nos. 3:15-cv-01749; 3:18-cv-01374
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15                          Attorneys for Plaintiffs DAVID RINALDI,
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                                             JOINT MOT. TO FILE UNDER SEAL
                                            Case Nos. 3:15-cv-01749; 3:18-cv-01374
1                              SIGNATURE CERTIFICATION
2
           Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
3
     and Procedures Manual, I hereby certify that the content of this document is acceptable
4
     to the above signatories, and that I have obtained each of the foregoing person’s
5
     authorization to affix his or her electronic signatures to this document.
6
7
     DATED: July 16, 2021                    O’MELVENY & MYERS LLP
8
9
                                             s/ Dawn Sestito
10
                                                      DAWN SESTITO
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                                                                 JOINT MOT. TO FILE UNDER SEAL
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